                Case 3:21-cr-00181-VC Document 46 Filed 03/31/22 Page 1 of 2




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 ANKUR SHINGAL (CABN 303434)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7108
 7        FAX: (415) 436-7234
          Ankur.Shingal@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        )   NO. CR 21-00181-VC
                                                      )
14           Plaintiff,                               )   STIPULATION TO CONTINUE STATUS AND
                                                      )   EXCLUDE TIME TO APRIL 28, 2022, AND
15      v.                                            )   [PROPOSED] ORDER AS MODIFIED
                                                      )
16   MIN JIN ZHAO,                                    )
                                                      )
17           Defendant.                               )
                                                      )
18
19           The parties are currently set for a status in this case on March 31, 2022. The parties have
20 conferred, and stipulate to continue the March 31 status date to April 28, 2022, so to permit defense

21 counsel additional time to review discovery and to confer with the defendant, who is in custody, to

22 consider the government’s plea offer.

23           In addition, the parties stipulate that time be excluded under the Speedy Trial Act through April
24 28, 2022, so that defense counsel can continue to prepare, including by reviewing the discovery already

25 produced and consider the government’s plea offer. For these reasons, the parties stipulate and agree

26 that excluding time until April 28, 2022 will allow for the effective preparation of counsel. See 18

27 U.S.C. § 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served by

28 excluding the time through April 28, 2022 from computation under the Speedy Trial Act outweigh the

     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
     Case No. CR 21-00181-VC                                                                     v. 7/10/2018
               Case 3:21-cr-00181-VC Document 46 Filed 03/31/22 Page 2 of 2




 1 best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

 2          The undersigned Assistant United States Attorney certifies that he has obtained approval from

 3 counsel for the defendant to file this stipulation and proposed order.

 4

 5          IT IS SO STIPULATED.

 6 DATED: 3/29/22                                                   /s/
                                                           ANKUR SHINGAL
 7                                                         Assistant United States Attorney

 8
     DATED: 3/29/22                                                 /s/
 9                                                         ELIZABETH FALK
                                                           Counsel for Defendant ZHAO
10

11                                  [PROPOSED] ORDER AS MODIFIED

12          Based upon the facts set forth in the stipulation of the parties, the status conference is continued

13 to April 28, 2022. The Court further finds that failing to exclude the time through April 28, 2022 would

14 unreasonably deny defense counsel and the defendant the reasonable time necessary for effective

15 preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The

16 Court further finds that the ends of justice served by excluding the time from through April 28, 2022

17 from computation under the Speedy Trial Act outweigh the best interests of the public and the defendant

18 in a speedy trial. Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the
19 time through April 28, 2022 shall be excluded from computation under the Speedy Trial Act. 18 U.S.C.

20 § 3161(h)(7)(A), (B)(iv). ***No further extensions will be granted.

21          IT IS SO ORDERED.
                                                                            ISTRIC
22                                                                     TES D      TC
                                                                     TA
          March 31, 2022
                                                                                                    O
                                                                 S




23 DATED: __________________
                                                                                                     U
                                                               ED




                                                                    HON. VINCE CHHABRIA
                                                                                                      RT




                                                                                  RDERJudgeED
                                                           UNIT




24                                                                  United StatesODistrict
                                                                            O
                                                                    IT IS S   DIFIED
                                                                       AS MO
                                                                                                             R NIA




25

26                                                                                                  ia
                                                                                           Chhabr
                                                            NO




                                                                                    ince
                                                                         J u d ge V
                                                                                                             FO




27
                                                             RT




                                                                                                         LI




                                                                    ER
                                                                H




28
                                                                                                     A




                                                                         N                               C
                                                                                           F
                                                                             D IS T IC T O
     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER                              R
     Case No. CR 21-00181-VC                                                                                 v. 7/10/2018
